          Case MDL No. 2741 Document 2438-2 Filed 08/19/21 Page 1 of 2




                          BEFORE THE UNITED STATES
                 JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


                                                           MDL No. 2741
IN RE: ROUNDUP PRODUCTS
LIABILITY LITIGATION


                                    PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that the foregoing Defendant Monsanto

Company’s Opposition to Transfer for Coordinated and Consolidated Pretrial Proceedings

Pursuant to 28 USC § 1407 was electronically filed on August 19, 2021 with the Clerk of the Panel

using the CM/ECF system, which will send notifications to all counsel of record, including on the

following parties:

Counsel for Plaintiff-Movant Brian Webb

N. Majed Nachawati
S. Ann Saucer
Michael Gorwitz
FEARS NACHAWATI, PLLC
5473 Blair Road
Dallas, TX 75231
Tel: (214) 890-0711
Fax: (214) 890-0712
mn@fnlawfirm.com
asaucer@fnlawfirm.com
mgorwitz@fnlawfirm.com

Counsel for Plaintiffs Scott Gilmore, Julio Ezcurra, James Weeks, Amanda Boyette, Anthony
Jewell, Paul Taylor, Sherry Hanna, and Kristy Williams

Gillian L. Wade
Sara D. Avila
Marc A. Castaneda
MILSTEIN JACKSON FAIRCHILD & WADE, LLP
10990 Wilshire Boulevard, Suite 800
Los Angeles, CA 90024
         Case MDL No. 2741 Document 2438-2 Filed 08/19/21 Page 2 of 2




Tel: (310) 396-9600
Fax: (310) 396-9635
gwade@mjfwlaw.com
savila@mjfwlaw.com
mcastaneda@mjfwlaw.com

Counsel for Ryan Tomlinson and Carol Richardson

Don M. Downing
Gretchen Garrison
GRAY, RITTER & GRAHAM, P.C.
701 Market Street, Suite 800
St. Louis, MO 63101
Tel: (314) 241-5620
Fax: (314) 241-4140
ddowning@grgpc.com
ggarrison@grgpc.com

Patrick J. Steuve
Todd Hilton
STUEVE SIEGEL HANSON LLP
460 Nichols Road, Suite 200
Kansas City, MO 64112
Tel: (816) 714-7100
Fax: (816) 714-7101
steuve@steuvesiegel.com
hilton@steuvesiegel.com


Dated: August 19, 2021                            Respectfully submitted,

                                                  /s/ Rakesh Kilaru
                                                  Rakesh Kilaru
                                                  rkilaru@wilkinsonstekloff.com
                                                  WILKINSON STEKLOFF LLP
                                                  2001 M St. NW, 10th Floor
                                                  Washington, DC 20036
                                                  Tel: (202) 847-4046
                                                  Fax: (202) 847-4005

                                                  Counsel for Monsanto Company
